UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SECURITIES AND EXCHANGE
COMMISSION,

                                 Plaintiff,                              22-cv-1346 (PKC)

                -against-                                                    ORDER


JAMES VELISSARIS,

                                  Defendant.
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CASTEL, U.S.D.J.

                The Initial Pretrial Conference in the matter scheduled for April 22, 2022 is

adjourned to April 25, 2022 at 3:30 p.m. Call-In: 1-888-363-4749. Access Code: 3667981.

                SO ORDERED.




Dated: New York, New York
       April 14, 2022
